         Case 1:18-cv-04141-JMF Document 246 Filed 10/04/23 Page 1 of 1




October 4, 2023

VIA ECF

The Honorable Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007-1312

               Re:     Jay Alix v. McKinsey & Co., Inc., et al., No. 18-CV-4141(JMF)
                       Letter Motion Seeking Adjournment

Dear Judge Furman:

        The parties in the above-referenced action jointly submit this letter to respectfully request
that the Court adjourn by 30 days: (i) the initial pre-trial conference currently set for October 11,
2023 (and the joint preconference letter and proposed Case Management Order submission due
on October 5, 2023 in connection with the same); (ii) defendants’ October 16, 2023 deadline to
answer the Second Amended Complaint; and (iii) plaintiff’s October 23, 2023 deadline to answer
or move with respect to defendant Goldstrom’s counterclaim.

        The initial pre-trial conference is the only scheduled appearance before the Court. This is
the parties’ first request to adjourn the initial pre-trial conference and the submission due in
connection with the same. It is defendants’ second request to extend their time to answer the
Second Amended Complaint; on August 25, 2023, the Court granted defendants’ request to
extend their time to answer by 31 days. Dkt. 242. It is plaintiff’s first request to extend his time
to respond to Goldstrom’s counterclaim.

Respectfully submitted,
                                           Application GRANTED. Defendants' answer deadline is
Sean F. O’Shea                             extended to November 15, 2023; and Plaintiff's answer
Sean F. O’Shea                             deadline is extended to November 22, 2023. In light of
Michael E. Petrella                        that, the initial pretrial conference is ADJOURNED to
Amanda L. Devereux                         December 5, 2023, at 3 p.m. The pre-conference
Matthew M. Karlan                          submissions are due by the Thursday prior to the
Joshua P. Arnold                           conference. The Clerk of Court is directed to terminate
Cadwalader, Wickersham & Taft LLP          ECF No. 245.
200 Liberty Street
New York, New York 10281                                                          SO ORDERED.
(212) 504-6000

Counsel to Plaintiff Jay Alix
                                                                                  October 4, 2023
